Case 0:23-cv-61527-DMM Document 40 Entered on FLSD Docket 01/24/2024 Page 1 of 1




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                          CASE NO. 23-61527-CIV-MIDDLEBROOKS

   Skonyon LLC,

                                 Plaintiff,

        v.

   The Individuals, Partnerships and Unincorporated
   Associations Identified on Schedule “A”,

                                 Defendants.
                                                        /


              NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

         Plaintiff, Skonyon LLC, by and through undersigned counsel, and pursuant to Fed. R. Civ.

  P. 41(a)(1)(A)(i), hereby voluntarily dismisses Defendants Home Garden Use, Ostorm2019, YJ07-

  car parts, pingzeng, yarkene without prejudice.




  Dated January 24, 2024.                       Respectfully submitted,


                                                /s/ Andrew J. Palmer
                                                Andrew J. Palmer
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